
227 P.3d 892 (2010)
In re INTERROGATORIES PROPOUNDED BY GOVERNOR Bill RITTER, JR., CONCERNING the EFFECT OF CITIZENS UNITED
v.
FEDERAL ELECTION COMMISSION, 558 U.S. ___ (2010) ON CERTAIN PROVISIONS OF ARTICLE XXIII OF the CONSTITUTION OF the STATE of Colorado.
No. 10SA43.
Supreme Court of Colorado, En Banc.
March 22, 2010.
*893 John W. Suthers, Attorney General, Daniel D. Domenico, Solicitor General, Maurice G. Knaizer, Deputy Attorney General, Monica M. Márquez, Deputy Attorney General, Matthew D. Grove, Assistant Attorney General, Denver, Colorado, Attorneys for Governor Bill Ritter, Jr., and Secretary of State Bernie Buescher.
Office of Legislative Legal Services, Charles W. Pike, Sharon L. Eubanks, Robert S. Lackner, Denver, Colorado, Attorneys for the General Assembly.
Isaacson Rosenbaum P.C., Mark G. Grueskin, Denver, Colorado, Buescher Goldhammer Kelman &amp; Dodge P.C., Joseph M. Goldhammer, Denver, Colorado, Attorneys for Colorado Education Association, School District 14 Classroom Teachers Association, and Douglas County Federation.
Thomas B. Buescher, Denver, Colorado, Attorney for Colorado Professional Fire Fighters.
Holland &amp; Hart LLP, J. Lee Gray, Greenwood Village, Colorado, Attorneys for Colorado Common Cause.
PER CURIAM.
Pursuant to section 3 of Article VI of the Colorado Constitution, the Governor submitted two interrogatories to this court on February 9, 2010, concerning the impact of Citizens United v. Federal Election Commission ___ U.S. ___, 130 S.Ct. 876, ___ L.Ed.2d ___ (2010), on the validity of various provisions of article XXVIII of the Colorado Constitution. The interrogatories are:

Interrogatory No. One:
In light of the U.S. Supreme Court's ruling in Citizens United v. Federal Election Commission, 558 U.S. ___, 130 S.Ct. 876, ___ L.Ed.2d ___ (2010), is Section 6(2) of Article XXVIII of the Colorado Constitution unconstitutional under the First Amendment of the United States Constitution as Section 6(2) relates and applies to "funding for electioneering communication" by:
A. Corporations?
B. Labor organizations?

Interrogatory No. Two:
In light of the U.S. Supreme Court's ruling in Citizens United v. Federal Election Commission, 558 U.S. ___, 130 S.Ct. 876, ___ L.Ed.2d ___ (2010), is Section 3(4) of Article XXVIII of the Colorado Constitution unconstitutional under the First Amendment of the United States Constitution as Section 3(4) *894 relates and applies to "expenditures expressly advocating the election or defeat of a candidate" by:
A. Corporations?
B. Labor organizations?
We agreed to accept the Governor's interrogatories and ordered that the Governor, the General Assembly, the Attorney General, the Secretary of State, Colorado Common Cause, the League of Woman Voters, the Colorado Bar Association, and any other interested persons be permitted to file simultaneous Opening Briefs in the Supreme Court clerk's office, with simultaneous Answer Briefs to follow. We received briefs from Governor Bill Ritter, Jr., and Secretary of State Bernie Buescher; the Colorado Education Association, School District 14 Classroom Teachers Association, and the Douglas County Federation; the Colorado Professional Fire Fighters; and Colorado Common Cause. Rather than availing themselves of the opportunity to file Answer Briefs, all of the responding parties filed a Joint Motion To Close Briefing And Declare Case At Issue, agreeing that both of the interrogatories should be answered in the affirmative.
We answer the first interrogatory in the affirmative. To the extent that section 3(4) of article XXVIII of the Colorado Constitution makes it unlawful for a corporation or labor organization to make expenditures expressly advocating the election or defeat of a candidate, it violates the dictates of the First Amendment of the United States Constitution, in light of the United States Supreme Court's decision in Citizens United v. Federal Election Commission, ___ U.S. ___, 130 S.Ct. 876, ___ L.Ed.2d ___ (2010).
We also answer the second interrogatory in the affirmative. To the extent that section 6(2) of article XXVIII of the Colorado Constitution makes it unlawful for a corporation or a labor organization to provide funding for an electioneering communication, it violates the dictates of the First Amendment of the United States Constitution, in light of the United States Supreme Court's decision in Citizens United v. Federal Election Commission, ___ U.S. ___, 130 S.Ct. 876, ___ L.Ed.2d ___ (2010).
